                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                       AT CHATTANOOGA

  UNITED STATES OF AMERICA,

  v.                                                           Docket No. 1:18-CR-11
                                                               JUDGE MATTICE
  JERRY WAYNE WILKERSON,                                       MAGISTRATE JUDGE STEGER
  MICHAEL CHATFIELD,
  KASEY NICHOLSON,
  BILLY HINDMON, and
  JAYSON MONTGOMERY
         Defendants.


           AMENDED JOINT MOTION FOR ADDITIONAL APPLICABLE LEGAL STANDARDS


         Come now the Defendants, Jerry Wayne Wilkerson, Michael Chatfield, Kasey Nicholson,

  Billy Hindmon and Jayson Montgomery, by and through undersigned counsel, and move this

  Court to consider additional applicable legal standards. This case is a bench trial, so no jury

  instructions are explicitly required. However, the Court has shared applicable legal standards that

  will be considered in deciding the case. The Defendants respectfully submit the following

  additional standards:

  Good Faith Instruction

         All five defendants assert that the Government has failed to demonstrate fraudulent

  intent by any defendant. The Sixth Circuit Pattern Jury Instructions note, “If there is any

  evidence at all of good faith, the court should refer to Instruction 10.04 Fraud – Good Faith

  Defense.” See Sixth Circuit Pattern Instruction 10.01, 10.02, and 10.05. Because the defendants

  have demonstrated through witness testimony that they were acting in good faith, the Court




                                  Page 1 of 5
Case 1:18-cr-00011-HSM-CHS Document 358 Filed 11/22/19 Page 1 of 5 PageID #: 4005
  should consider the following standard from Sixth Circuit Pattern Jury Instruction 10.04 in

  connection to Count One, Conspiracy to Commit Health Care Fraud, Counts 2-108, Wire Fraud,

  Counts 109 through 134, Mail Fraud, Counts 135-140, Health Care Fraud, and Counts 141

  through 167, Violation of the Anti-Kickback Statute:

                        (1) A person who acts, or causes another person to act, on a belief or an
                            opinion honestly held is not punishable under these statutes merely
                            because the belief or opinion turns out to be inaccurate, incorrect, or
                            wrong. An honest mistake in judgment or an honest error in
                            management does not rise to the level of criminal conduct.

                        (2) A defendant does not act in good faith if, even though he honestly
                            holds a certain opinion or belief, the defendant also knowingly makes
                            false or fraudulent pretenses, representations, or promises to others.

                        (3) While the term “good faith” has no precise definition, it encompasses,
                            among other things, a belief or opinion honestly held, an absence of
                            malice or ill will, and an intention to avoid taking unfair advantage of
                            another.

                        (4) The burden of proving good faith does not rest with the defendant
                            because the defendant does not have any obligation to prove anything
                            in this case. It is the government’s burden to prove to you, beyond a
                            reasonable doubt, that the defendant acted with an intent to defraud.

                        (5) If the evidence in this case leaves you with a reasonable doubt as to
                            whether the defendant acted with an intent to defraud or in good faith,
                            you must acquit the defendant.

  Material Omission

         Unlike an affirmative misrepresentation that is material, the Sixth Circuit has held that

  fraudulent pretenses or representations can include omissions, or concealment, “where one says

  nothing but has a duty to speak.” United States v. Maddux, 917 F.3d 437, 443-446 (6th Cir. 2019).

  A fair reading of that case, and the summary of the case in the notes to the Sixth Circuit Pattern

  Jury Instructions, supports that an omission or concealment can only be material under the fraud



                                  Page 2 of 5
Case 1:18-cr-00011-HSM-CHS Document 358 Filed 11/22/19 Page 2 of 5 PageID #: 4006
  statutes when there is an affirmative legal or contractual duty to provide information that was

  omitted or concealed. The Third Circuit uses such language in its pattern fraud instruction, and

  Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr. Hindmon, and Mr. Montgomery respectfully

  submit that the Court should consider the Third Circuit’s standard as articulated in Pattern

  Instruction 6.18.1341-1 here:

                         The failure to disclose information may constitute a fraudulent
                         representation if the defendant was under a legal, professional, or
                         contractual duty to make such a disclosure, the defendant actually knew
                         such disclosure ought to be made, and the defendant failed to make such
                         disclosure with the intent to defraud.

  This standard should be applied to Counts 2 through 140.

  Joining a Conspiracy

         As the Court has properly noted, the elements for conspiracy require proof that the

  defendant knowingly and voluntarily joined the conspiracy. As to this element, the Sixth Circuit

  articulates standards relating to a defendant’s connection to the conspiracy in Pattern Instruction

  3.03. Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr. Hindmon, and Mr. Montgomery

  respectfully request that this standard, as articulated in the pattern instructions, be applied here.


                         DEFENDANT'S CONNECTION TO THE CONSPIRACY

                          (1) If you are convinced that there was a criminal agreement, then you
                         must decide whether the government has proved that the defendants
                         knowingly and voluntarily joined that agreement. You must consider each
                         defendant separately in this regard. To convict any defendant, the
                         government must prove that he knew the conspiracy's main purpose, and
                         that he voluntarily joined it intending to help advance or achieve its goals.

                         (2) This does not require proof that a defendant knew everything about
                         the conspiracy, or everyone else involved, or that he was a member of it
                         from the very beginning. Nor does it require proof that a defendant played



                                  Page 3 of 5
Case 1:18-cr-00011-HSM-CHS Document 358 Filed 11/22/19 Page 3 of 5 PageID #: 4007
                       a major role in the conspiracy, or that his connection to it was substantial.
                       A slight role or connection may be enough.

                       (3) But proof that a defendant simply knew about a conspiracy, or was
                       present at times, or associated with members of the group, is not enough,
                       even if he approved of what was happening or did not object to it.
                       Similarly, just because a defendant may have done something that
                       happened to help a conspiracy does not necessarily make him a
                       conspirator. These are all things that you may consider in deciding
                       whether the government has proved that a defendant joined a conspiracy.
                       But without more they are not enough.

                       (4) A defendant's knowledge can be proved indirectly by facts and
                       circumstances which lead to a conclusion that he knew the conspiracy's
                       main purpose. But it is up to the government to convince you that such
                       facts and circumstances existed in this particular case.
  Conclusion

         Based on the foregoing, Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr. Hindmon, and

  Mr. Montgomery request that this Court consider the described legal standards in determining

  the outcome of this case.

                                      Respectfully submitted, this 22nd day of November, 2019.

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                                  Page 4 of 5
Case 1:18-cr-00011-HSM-CHS Document 358 Filed 11/22/19 Page 4 of 5 PageID #: 4008
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                                  Page 5 of 5
Case 1:18-cr-00011-HSM-CHS Document 358 Filed 11/22/19 Page 5 of 5 PageID #: 4009
